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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

 UNITED STATES OF AMERICA                         3:18-CR-00319-02-JO

                        v.                        GOVERNMENT=S MEMORANDUM
                                                  IN SUPPORT OF PRE-TRIAL
 EARL DEVERLE FISHER,                             DETENTION

                  Defendant.

       The United States of America, by and through Billy J. Williams, United States Attorney

for the District of Oregon, and Leah K. Bolstad, Assistant United States Attorney, hereby

requests an order to detain defendant pre-trial as he presents a danger to the community and a

risk of flight or non-appearance.

I.     PROCEDURAL BACKGROUND

       On June 28, 2018, a federal grand jury returned an indictment charging defendant with

Murder in Aid of Racketeering (Count 1, 18 U.S.C. § 1959(a)(1)); Kidnapping in Aid of

Racketeering, Resulting in Death (Count 2, 18 U.S.C. § 1959(a)(1)); Kidnapping, Resulting in

Death (Count 3, 18 U.S.C. § 1201(a)(1)); and Conspiracy to Commit Kidnapping, Resulting in


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Death (Count 4, 18 U.S.C. § 1201(c)). The indictment includes notice of special findings as to

Counts 1 and 3, including that defendant Fisher intentionally killed the victim and intentionally

inflicted serious bodily injury that resulted in the death of the victim. (ECF No. 1, page 8).

       On July 10, 2018, defendant Fisher made his initial appearance in this federal case. He

appeared by writ from Multnomah County, where he has been in custody since April 2016

pending murder charges stemming from the same incident that gives rise to this federal

indictment. The United States Pretrial Office reviewed defendant’s criminal history from 1989-

2014, performance on supervised release, and based on this history, pretrial recommended

detention. In its report, Pretrial noted defendant’s past performance in the criminal justice

system includes eleven (11) failures to appear, at least ten (10) probation violations, and seven

(7) revocations of supervision. The government joined Pretrial’s recommendation for detention.

The Honorable Judge Acosta ordered defendant detained based on risk of danger to the

community and risk of flight. (ECF No. 19).

II.    ANALYSIS

       Defendant filed a motion for release with a proposal to reside with his wife in Southeast

Portland. Defense counsel’s declaration states, “There is no risk that Mr. Fisher will obstruct or

attempt to obstruct justice, or threaten, injury, or intimidate a prospective witness.” (Decl. ¶ 4.)

Defendant’s motion also minimizes his prior criminal history as non-violent and ignores his

lengthy history of supervision failures and failures to appear in court proceedings.

       There is nothing in defendant’s proposed release plan to mitigate the risk of danger to the

community, especially the witnesses in this case. The proposed release address is the same

residence where defendant lived when he allegedly committed the instant murder offense. The

injuries he suffered in 2007 pre-date his involvement in the instant murder offense, so the idea


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that he is too feeble to hurt anyone strains credulity. He routinely failed to appear for court

appearances in the past, and given that he now faces extremely high sentencing exposure of Life

or Death if convicted, he has a much greater incentive than ever before to flee the jurisdiction

and/or the United States.

       In its detention order (ECF No. 19), the Court checked the below-listed boxes as reasons

why there are no conditions or combination of conditions that can ensure the safety of the

community nor assure defendant’s appearance in court.

       Prior criminal history, drug                           Mental health issues
        offenses & alcohol related                             Nature of offense
       Prior supervision failures                             Possession of a Weapon
       Prior failures to appear                               Violent Behavior
       Substance use/abuse                                    Other: Gypsy Joker Member

These risk factors remain at issue, and defendant’s proposed release plan does very little to

address these concerns. In this case, the evidence shows that defendant presents both a flight

risk and a danger to the community.    Any combination of pretrial conditions, regardless of how

strictly worded, will “contain one critical flaw. In order to be effective, they depend on

[defendant’s] good faith compliance.” Hir, 517 F.3d at 1092. Here, defendant’s history and

characteristics cast serious doubt on whether he is worthy of the Court’s trust, and whether he is

capable of good faith compliance.

               1.      Nature and Circumstances of the Offense

       The nature and circumstances of this offense weigh heavily in favor of detention.        The

indictment in this case alleges defendant kidnapped and murdered a victim in late June 2015.

Notably, the charged offenses allege defendant committed these crimes in aid of racketeering,

and specifically for the Gypsy Joker Outlaw Motorcycle Club (the enterprise).




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               2.      Weight of the Evidence

       The weight of the evidence is strong and supports detention here.     This indictment arises

from a long-term federal investigation that includes numerous witness statements, surveillance

video, eyewitness testimony, phone toll records, cell tower location records (obtained with

search warrants), and post-arrest admissions by defendant.

               3.      History and Characteristics of the Defendant/Release Status

       This factor also weighs against defendant.    Defendant has a lengthy criminal history that

includes supervision failures and failures to appear. His history includes drug offenses, drunk

driving offenses and crimes of violence as recently as his 2010 conviction for Unlawful Use of a

Weapon – such convictions are based on active use of weapons and not mere possession. In

July 2014, authorities arrested defendant in Utah along with several other Gypsy Joker members.

Based on the pretrial report, it appears that his conviction for Possession of a Controlled

Substance did not occur until November 2016. This means he committed the instant murder

offense (July 1, 2015), while pending an out-of-state drug prosecution. In other words, his

recent criminal history establishes that he continues to pose a danger to the community even

while pending prosecution.

               4.      Nature and Seriousness of the Danger if Released

       The indictment alleges that this racketeering enterprise is a criminal organization whose

members engage in offenses involving narcotics trafficking and acts of violence involving

murder, robbery, extortion, firearms offenses and obstruction of justice. (ECF No. 1, ¶ 1).

Members of the enterprise share a common purpose to preserve and protect their territory

through the use of intimidation, violence, and threats of violence. (ECF No. 1, ¶ 11b). Thus,

the government is concerned that if released, this defendant will engage in conduct the Bail

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Reform Act cites as problematic: the obstruction or attempted obstruction of justice through

acts of violence or intimidation towards prospective witnesses. 18 U.S.C. § 3142(f)(2)(B).

While in custody pending state murder charges, defendant made admissions to at least two other

inmates about the murder, and the fact that the victim was tortured before his death. Defendant

also requested the assistance of another inmate in “handling” a witness.

       Defendant is a self-proclaimed member of the Gypsy Joker Outlaw Motorcycle Club, he

held the rank of Vice President of the Portland Chapter, and as such, he has the ability and

resources to direct others to engage in obstructive activity.     Keeping him in custody pending

trial will restrict his access to these resources and ensures that whatever plans he may have to

obstruct justice can be monitored by investigators and jailors.

III.   CONCLUSION

       In summary, the relevant inquiry for the court is whether there are conditions that can be

placed upon defendant that will reasonably assure the safety of the community and defendant’s

appearance in court. Here, there are none. If released “on conditions,” defendant’s history,

characteristics, and trajectory through the justice system, demonstrate that he is undeterred and

despite his 2007 injury falling from a roof, he continues to engage in conduct that puts others at

grave risk. Defendant’s serious criminal history, including violent weapons offenses and drug

crimes suggests a high risk of reoffending if released. Accordingly, the government

respectfully requests that the Court detain defendant pending trial.

Dated: July 18, 2018                                  Respectfully submitted,

                                                      BILLY J. WILLIAMS
                                                      United States Attorney

                                            /s/ Leah K. Bolstad
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